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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division


  MATTHEW McDonald,etaL,

                   Plaintiffs,

            V.                                                    l:18-cv-697(LMB/TCB)

  EDWARD G. ROBINSON III, et al..

                   Defendants.


                                                ORDER


           For the reasons stated in the accompanying Memorandum Opinion, Carla DeSilva

 McPhun and Cadem Capital Group's(together, the "McPhun Defendants") objection [Dkt.

 No. 200] to the magistrate judge's report and recommendation is OVERRULED,the report and

 recommendation [Dkt. No. 196] is ADOPTED IN FULL,Plaintiffs' Motion for Sanctions and

 Entry of Default Judgment Against Defendants Carla McPhun and Cadem Capital Group [Dkt.

 No. 150] is GRANTED IN PART,and it is hereby

           ORDERED that the Clerk enter a default against the McPhun Defendants; and it is

 further


           ORDERED that plaintiffs promptly file a supplemental motion for defaultjudgment

 specifically indicating how they are entitled to relief under each count of their complaint as well

 as the amount of their damages.

           The Clerk is directed to forward copies ofthis Order to counsel of record and to the

 McPhun Defendants, pro se.

           Entered this /O day of January, 2019.

 Alexandria, Virginia
                                                                                 Is!
                                                                  Leonie M.Brinkema
                                                                  United States District Judge
